Case 2:15-cr-20283-GCS-MKM ECF No. 224, PageID.1595 Filed 07/31/17 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                  Plaintiff,
                                            Case No. 15-20283
 vs.                                        HON. GEORGE CARAM STEEH

 SVETLANA SRIBNA, et al.,

               Defendants.
 ___________________________/


       ORDER DENYING DEFENDANT’S MOTION FOR A WRITTEN
       PROFFER AND A HEARING TO DETERMINE ADMISSIBILITY
          OF CO-CONSPIRATORS’ STATEMENTS (DOC. 152)

       This matter is presently before the Court on defendant Svetlana

 Sribna’s Motion for a written proffer and a hearing to determine

 admissibility of co-conspirator statements pursuant to Fed. R. Evid.

 801(d)(2)(E). (Doc. 152). The Motion is joined by defendants Jennifer

 Franklin, Rodney Knight, Tara Jackson, Sashanti Morris, Anna Fradlis, and

 Maryna Pitsenko. Sribna requests that the Court make a pretrial

 determination of the admissibility of co-conspirator statements that the

 Government may seek to introduce in its case in chief. Sribna asks the




                                      -1-
Case 2:15-cr-20283-GCS-MKM ECF No. 224, PageID.1596 Filed 07/31/17 Page 2 of 4




 Court to require disclosure of these statements and conduct a hearing

 pursuant to Fed. R. Evid. 104(a) and 801(d)(2)(E). For the reasons stated

 below, Sribna’s motion is DENIED.

       Pursuant to United States v. Vinson, 606 F.2d 149 (1979), the Court

 may determine the admissibility of evidence offered under Fed. R. Evid.

 801(d)(2)(E) by holding a “mini-hearing in which the court, without a jury,

 hears the Government’s proof of conspiracy and makes the preliminary

 Enright finding.” Id. at 152. United States v. Enright, 579 F.2d 980 (6th Cir.

 1978), requires the Government to prove three elements for the admission

 of coconspirator statements to be upheld: (1) a conspiracy existed; (2) the

 defendant was a member of the conspiracy, and (3) the statement was

 made by a conspirator in the course of and in furtherance of the

 conspiracy. The Court must find that the Government has proven these

 elements by a preponderance of the evidence, and may use the statements

 themselves in making its decision. Bourjaily v. United States, 483 U.S.

 171, 178-79 (1987).

       While the Court is required to make an Enright finding, it is not

 required to make a decision at a single time or through a single manner.

 For example, while the Court has the discretion to conduct a mini-hearing,




                                      -2-
Case 2:15-cr-20283-GCS-MKM ECF No. 224, PageID.1597 Filed 07/31/17 Page 3 of 4




 it may also admit co-conspirator testimony conditionally and reserve its

 decision on an Enright finding until the close of the Government’s case.

 Vinson, 606 F.2d at 152-53.

      Sribna asserts that a mini-hearing will ensure that inadmissible

 prejudicial evidence is not presented to the jury and make trial more

 efficient by limiting the need for objections. The Court disagrees. The

 mini-hearing procedure “has been criticized as burdensome, time-

 consuming and uneconomic.” Vinson, 606 F.2d at 152. The Court finds

 that these criticisms apply here, where the bulk of the government’s case

 allegedly consists of co-conspirator statements. Moreover, the first and

 second elements of Enright –whether the Government has proven a

 conspiracy and whether the defendant was a member – are identical to the

 question the Court must consider in determining whether to dismiss the

 conspiracy charge in this case.1 The Court, therefore, finds that the

 circumstances of this case do not warrant a mini-hearing. Instead, the

 Court shall conditionally admit the 801(d)(2)(E) testimony, subject to a




 1
  The Court notes, however, that different standards of proof apply. An
 Enright finding must be proven by a preponderance of the evidence while
 the conspiracy charge must be proven beyond a reasonable doubt.
                                      -3-
Case 2:15-cr-20283-GCS-MKM ECF No. 224, PageID.1598 Filed 07/31/17 Page 4 of 4




 determination at the close of the case that the United States has met its

 burden of proof set forth in Enright.

 Dated: July 31, 2017

                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                      July 31, 2017, by electronic and/or ordinary mail.

                                    s/Marcia Beauchemin
                                        Deputy Clerk




                                            -4-
